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                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                                 Chapter 13
         Tamara C. Miller
                                                       Case No.19-16737-AMC

                             Debtor

                NOTICE OF COMPLETION OF PLAN PAYMENTS

   Scott F. Waterman, Standing Chapter 13 Trustee, files this notice pursuant to Local

Bankruptcy Rule 4004-3 of the United States Bankruptcy Court for the Eastern District of

Pennsylvania.

   The Trustee reports to the Court that the above-named Debtor(s) have completed all Trustee

payments under the confirmed Chapter 13 plan. The Trustee requests that any wage order entered

in this case be terminated and the employer cease wage withholding.


                                                Office of the Chapter 13 Trustee



Date: April 25, 2022                      By: /s/ Scott F. Waterman
                                                Scott F. Waterman, Esquire, Chapter 13 Trustee
                                                2901 St. Lawrence Avenue, Suite 100
                                                Reading, PA 19606
                                                (610)779-1313 (Phone)
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